

People v Sanchez (2021 NY Slip Op 01236)





People v Sanchez


2021 NY Slip Op 01236


Decided on March 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 02, 2021

Before: Gische, J.P., Mazzarelli, González, Mendez, JJ. 


Ind No. 65/05 65/05 Appeal No. 13242 Case No. 2020-02112 

[*1]The People of the State of New York, Respondent,
vEmanuel Sanchez, Defendant-Appellant.


Marianne Karas, Thornwood, for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Eleanor J. Ostrow of counsel), for respondent.



Order, Supreme Court, New York County (Robert M. Stolz, J.), entered on or about July 29, 2019, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The record supports the court's finding that defendant was a presumptive risk level three offender, after which the court granted defendant's request for a departure to level two. The court correctly assessed 25 points based on clear and convincing evidence that defendant committed aggravated sexual abuse. At defendant's sentencing in connection with the underlying conviction, the court struck references to some of defendant's alleged conduct during the offense from the presentence report. However, the SORA court did not rely on anything that the prior Justice had stricken from that report. Instead, it properly relied on the victim's grand jury testimony and a police report (see People v Mingo, 12 NY3d 563, 571-572 [2009]; see also People v Epstein, 89 AD3d 570 [1st Dept 2011]).
In any event, regardless of whether defendant's correct point score is actually 95, as he contends, the record does not establish any basis for a further downward departure to level one (see generally People v Gillotti, 23 NY3d 841 [2014]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 2, 2021








